U.S.A.

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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF COLUMBIA

vs. GLEFFE, Marcos Docket No.: 1:21CR00698-001

 

The Court may enter a minute order for any of the following options:

“es ORDERS:

1. Concurs with the récommendation of the Probation Office to “modify the special

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conditions of probation as noted above.” as follows:

Mental Health Treatment - You shall participate in a mental health treatment
program (outpatient and/or inpatient) and follow the probation officer's instructions
regarding the implementation of this Court directive. Further, you shall contribute
to the costs of these services not to exceed an amount determined reasonable by the
Probation Office's Sliding Scale for Mental Health Treatment Services.

No action

Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

Issuance of a summons and schedule a hearing

Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate
judge for the preparation of a report and recommendation to the district judge. This
designation will remain for the duration of the case, and the designated magistrate judge
will respond to all subsequent requests from the probation office unless otherwise ordered

by the district judge.

Other

 

 

 

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Florence -¥> Par
United States Circuit Judge

Soil 14, 2023
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